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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION
____________________________________
                                       )
Mingfei Zhu                            )
                                       )    Case No.: 24-cv-01139
              Plaintiff,               )
       v.                              )    Judge: Hon. Virginia M. Kendall
                                       )
The Partnerships and Unincorporated    )    Magistrate: Hon. Beth W. Jantz
       Associations Identified in      )
       Schedule “A”,                   )
                                       )
              Defendants.              )
____________________________________)

                                 VOLUNTARY DISMISSAL

         Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff, hereby

dismisses this action without prejudice as to the following Defendants:

 Doe #       Store Name                                       Seller ID
 49          Mirolam Vita                                     A8J9IVEYC8SSI


Dated: February 11, 2024                                          Respectfully submitted,

                                                                          By:   /s/ Kevin Keener

                                                                               Kevin J. Keener
                                                                             ARDC #6296898
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